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Fill in this information to identify the case:

Debtor 1              Kyongsik Jun

Debtor 2              Minsoo Ha
(Spouse, if filing)

United States Bankruptcy Court for the :                          District of Maryland
                                                                             (State)

Case number           23-13312



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                 12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:                THE BANK OF NEW YORK MELLON FKA                  Court claim no. (if known):         22-2
                                 THE BANK OF NEW YORK AS TRUSTEE
                                 FOR THE CERTIFICATEHOLDERS OF
                                 CWMBS, INC., CHL MORTGAGE PASS-
                                 THROUGH TRUST 2004-HYB4,
                                 MORTGAGE PASS-THROUGH
                                 CERTIFICATES, SERIES 2004-HYB4

Last four digits of any number you               XXXXXX7754                       Date of payment change:
use to identify the debtors’ account:                                             Must be at least 21 days after date of              5/1/2025
                                                                                  this notice

                                                                                  New total payment:
                                                                                  Principal, interest, and escrow, if any             $3,669.75

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtors’ escrow account payment?
        No
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:         $ 539.51                                       New escrow payment :          $ 661.47

Part 2:         Mortgage Payment Adjustment

2.     Will the debtors’ principal and interest payment change based on an adjustment to the interest rate in the debtors’
       variable-rate account?
        No
        Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                       %                              New interest rate:           %

             Current principal and interest payment:      $ _________                     New principal and interest payment:           $ __________

Part 3:         Other Payment Change
3.   Will there be a change in the debtors’ mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:              $ _________                             New mortgage payment:             $ _________




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 Debtor 1            Kyongsik Jun                                                   Case number (if known) 23-13312
                    First Name Middle Name    Last Name


Part 4:         Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/Ciro A Mestres                                                                 Date     03/28/2025
     Signature

Print:         Ciro                  A                              Mestres            Title    Authorized Agent for Creditor
               First Name            Middle Name                    Last Name

Company        McCalla Raymer Leibert Pierce, LLP

Address        1544 Old Alabama Road
               Number      Street
               Roswell                       GA                      30076
               City                          State                   ZIP Code

Contact phone      678-281-6516                                                        Email    Ciro.Mestres@mccalla.com




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                                                       Bankruptcy Case No.: 23-13312
 In Re:                                                Chapter:             13
          Kyongsik Jun                                 Judge:               Maria Ellena
          Minsoo Ha                                                         Chavez-Ruark

                                   CERTIFICATE OF SERVICE

      I, Ciro A Mestres, of McCalla Raymer Leibert Pierce, LLP, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Kyongsik Jun
10282 Arizona Circle, Apt. 64
Bethesda, MD 20817-1242

Minsoo Ha
10282 Arizona Circle, Apt. 64
Bethesda, MD 20817-1242

Christopher Rollis Wampler                      (Served via ECF at cwampler@wandsfirm.com)
12114B Heritage Park Circle
Silver Spring, MD 20906

Timothy P. Branigan, Trustee                    (Served via ECF at cmecf@chapter13maryland.com)
9891 Broken Land Parkway
Suite 301
Columbia, MD 21046

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on:        04/10/2025      By:    /s/Ciro A Mestres
                     (date)                Ciro A Mestres
                                           Authorized Agent for Creditor
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